Case 2:05-cr-20177-SH|\/| Document 100 Filed 07/07/05 Page 1 of 2 Page|D 91

rN THE UNrTED sTATEs DIsTRICT CoURT ping i`*`»' UB.C.
FoR THE WESTERN DISTRICT 0F TENNESSEE
WESTERN DIvIsIoN 95 JUL ‘“7 AH 7- 211

UNITED STATES OF AMERICA ¢"/D 1rl !!‘J ll.-‘?'MPH!S

 
     
  

v.
05-201 77-02-Ma
ELISHAH MOODY

 

ORDER ON ARRAIGNMENT

 

This cause came to be heard on @/K/ZJ é/ ZGU..S_ , the United States Attorney

for this district appeared on behalf of the@overrm{ent, and the defendant appeared in person and With

counsel:
NMEMM 51 Who is Retained/Appointed.

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

 

 

All motions shall be filed Within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

The defendant, who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is remanded to the custody of the U. S. Marshal.

M

UNITED STATES MAGISTRATE JUDGE

CHARGES: 21 :846;

U. S. Attomey assigned to Case: T. Colthurst

Ag@= 439

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with Hule 55 and/or 32{b] FFlCrP on 2 g z :¢ 2 ij z ,

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 100 in
case 2:05-CR-20177 Was distributed by faX, mail, or direct printing on
July 12, 2005 to the parties listed

 

 

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Honorable Samuel Mays
US DISTRICT COURT

